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                       THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 BRIAN J. LYNGAAS, D.D.S., P.L.L.C.,                 Case No. 2:20-cv-02370-NIQA
 individually and as the representative of a class
 of similarly-situated persons,                      IQVIA INC.’S MOTION FOR
                                                     PROTECTIVE ORDER BARRING OR
                          Plaintiff,                 LIMITING MR. FERGUSON’S SECOND
                                                     DEPOSITION AND PRODUCTION OF
 v.                                                  DOCUMENTS
 IQVIA INC.,

                          Defendant.



      IQVIA INC.’S MOTION FOR PROTECTIVE ORDER BARRING OR LIMITING
     MR. FERGUSON’S SECOND DEPOSITION AND PRODUCTION OF DOCUMENTS
        Defendant IQVIA Inc. (“IQVIA”), through the undersigned counsel, submits this Motion

for Protective Order Barring or Limiting Mr. Ferguson’s Second Deposition and Production of

Documents (the “Motion”).

I.      INTRODUCTION

        This Court should deny Plaintiff Brian J. Lyngaas, D.D.S., P.L.L.C.’s (“Plaintiff”) Motion

to Reopen the Deposition of Defendant’s Former Employee (ECF No. 57) (“Motion to Reopen

Deposition”) in its entirety for the reasons set forth in IQVIA’s concurrently-filed Opposition

(“Opposition”). IQVIA incorporates by reference all of the facts and legal arguments set forth in

its Opposition.

         In the alternative only—to the extent this Court is inclined to allow Plaintiff a second

deposition of Mr. Ferguson—IQVIA requests that the Court impose the protective order conditions

specified below to protect against Mr. Ferguson’s potential disclosure of IQVIA’s privileged

and/or confidential documents and information. In lieu of a second deposition, IQVIA proposes

the following process to address any testimony Mr. Ferguson seeks to change from his prior


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deposition: (1) Mr. Ferguson will produce to IQVIA a new errata sheet containing any changes he

would like to make to any of his original sworn testimony, (2) IQVIA will designate, as

appropriate, any content that is confidential pursuant to the parties’ stipulated protective order (see

ECF No. 22), and redact any testimony subject to attorney-client privilege or the work product

doctrine, and then (3) IQVIA’s counsel will produce Mr. Ferguson’s redacted errata to Plaintiff’s

counsel.

       Plaintiff’s document requests should be barred unless any “changes” Mr. Ferguson makes

to his prior sworn testimony actually warrant any additional document discovery. Plaintiff’s

request for additional discovery hinges only upon Mr. Ferguson’s recent statements regarding his

prior deposition testimony.



                                                          (Declaration of Mark Snyder in Support of

IQVIA’s Opposition to Motion to Reopen Deposition (“Snyder Decl.”) ¶¶ 3-6.) Even if the Court

decides that Mr. Ferguson’s recent statements may implicate some relief regarding his deposition

testimony, the statements do not justify any additional document requests by Plaintiff. 1

II.    LEGAL STANDARD

       A party that seeks a protective order must demonstrate “good cause” for the order, which

is “established on a showing that disclosure will work a clearly defined and serious injury to the

party seeking [dis]closure.” Haskell v. Cheltenham Twp., No. CIV.A. 00-CV-4237, 2002 WL

318330, at *1 (E.D. Pa. Feb. 25, 2002); see Fed. R. Civ. P. 26(c).




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 If the Court ultimately allows Mr. Ferguson to produce documents, such documents should
only be produced pursuant to a procedure that permits IQVIA the opportunity to review those
documents for privilege and confidentiality in advance of any production to Plaintiff.


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       In the Third Circuit, “the factors to consider before issuing a protective order include: (1)

whether disclosure will violate any privacy interests; (2) whether the information is being sought

for a legitimate purpose or for an improper purpose; (3) whether disclosure of the information will

cause a party embarrassment; (4) whether confidentiality is being sought over information

important to public health and safety; (5) whether the sharing of information among litigants will

promote fairness and efficiency; (6) whether a party benefitting from the order of confidentiality

is a public entity or official; and (7) whether the case involves issues important to the public.”

Constand v. Cosby, 232 F.R.D. 486, 488 (E.D. Pa. 2006) (citing Pansy v. Borough of Stroudsburg,

23 F.3d 772, 787-91 (3d Cir. 1994)).

III.   ARGUMENT

       A.      Good Cause Exists for the Court to Issue a Protective Order Here.

       All of the Third Circuit factors favor granting a protective order here. First, the disclosure

of Mr. Ferguson’s testimony and the documents sought by Plaintiff are likely to violate IQVIA’s

interests in protecting its confidential information, particularly as Plaintiff appears to seek

testimony and documents relating to the circumstances of

                                   (ECF No. 57-4 at 8; see also Snyder Decl. ¶¶ 3-6.) While

undersigned counsel does not represent Mr. Ferguson, the requested testimony and documents are

likely to violate Mr. Ferguson’s privacy interests as well. Furthermore, Mr. Ferguson is privy to

attorney-client privileged communications involving IQVIA and its in-house and outside counsel,

and possesses documents containing attorney-client privileged information. The disclosure of his

testimony and the documents sought in the subpoena served by Plaintiff (the “Subpoena”) is thus

also likely to risk divulging IQVIA’s attorney-client privileged documents and communications to

Plaintiff’s counsel.




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       Second, the information is not sought for a legitimate purpose. Plaintiff has already

deposed Mr. Ferguson once about the issues relevant to this action. To the extent that the Subpoena

seeks discovery on issues not previously covered, those topics are wholly irrelevant to this case.



    (Snyder Decl. ¶ 3.)



                (Id.)

       Third, the third factor likewise weighs in favor of a protective order because of the risk to

IQVIA’s interests in protecting its confidential and privileged information, as described above. In

addition, a protective order is appropriate to protect against the unnecessary disclosure of

information regarding Mr. Ferguson’s individual employment record and



       Fourth, the information is not important to public health or safety, and Plaintiff does not

contend otherwise.

       Fifth, the disclosure of the information does not promote fairness or efficiency. IQVIA has

already advised Plaintiff that it does not intend to rely on any of Mr. Ferguson’s original sworn

testimony in its defense of this case. (Declaration of Tiffany Cheung in Support of Opposition to

Motion to Reopen Deposition (“Cheung Decl.”) ¶ 4.) As noted in IQVIA’s concurrently-filed

Opposition, it would be unfair to allow Mr. Ferguson to change or contradict his prior sworn

testimony, almost five months after the fact, because he is unhappy about IQVIA’s unrelated

employment determination. And deposing the same witness twice to retread old ground can hardly

be construed as efficient.

       Sixth, there are no public entities or officials involved in this case.




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       Seventh, the case does not involve issues of importance to the public.

       Because all of the relevant factors weigh in favor of IQVIA, good cause exists to issue a

protective order to protect against Mr. Ferguson’s potential disclosure of testimony and documents

that violate IQVIA’s privilege and confidentiality concerns.

       B.      If the Court Wishes to Allow Plaintiff To Take Discovery of Mr. Ferguson,
               It Should Impose Protective Order Conditions to Limit Potential Disclosure of
               Confidential or Attorney-Client Privileged Testimony and Documents.

       If the Court determines that Mr. Ferguson should be allowed another opportunity to change

his prior sworn testimony, IQVIA requests that the Court deny Plaintiff’s request for a second

deposition and, instead, order Mr. Ferguson to prepare and execute another errata sheet correcting

what he believes are the inaccuracies in his prior sworn testimony. IQVIA can review Mr.

Ferguson’s errata for confidentiality and redact any privileged testimony, and then produce it to

Plaintiff’s counsel. After review of any “changed” testimony from Mr. Ferguson, the parties

should confer about whether any additional document discovery is warranted based on any new

testimony. Plaintiff falls far short of justifying its broad document requests for confidential and

privileged information unrelated to the issues in this case.

       The procedures proposed by IQVIA would allow Plaintiff to obtain the discovery requested

while simultaneously protecting against Mr. Ferguson’s intentional or inadvertent disclosure of

IQVIA’s attorney-client privileged communications and confidential information, particularly

because, as far as IQVIA is aware, Mr. Ferguson has not retained independent counsel for his

deposition. (Cheung Decl. ¶ 6.) Saldi v. Paul Revere Life Ins. Co., 224 F.R.D. 169, 175 (E.D. Pa.

2004) (“Courts are given broad discretion in evaluating the competing interests in discovery

disputes so that they have the necessary flexibility to ‘justly and properly consider the factors of

each case.’”) (citation omitted); Glunk v. Pa. State Bd. of Med., No. 1:14-cv-00659, 2016 WL

3220619, at *1 (M.D. Pa. June 10, 2016), aff’d, 687 F. App’x 196 (3d Cir. 2017) (“[M]atters of


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docket control and conduct of discovery are committed to the sound discretion of the district

court”) (citing In re Fine Paper Antitrust Litig., 685 F.2d 810, 817 (3d Cir. 1982)). In fact, this is

the same procedure that the Court employed to mitigate Plaintiff’s concerns as to the disclosure of

personally identifying information during the expert inspection of Plaintiff’s fax machine. (ECF

No. 56.) The same rationale is equally applicable to IQVIA’s privilege and confidentiality

concerns here.2

IV.    CONCLUSION

       IQVIA respectfully requests that the Court deny Plaintiff’s Motion to Reopen Deposition

in its entirety. In the alternative, if the Court permits Mr. Ferguson to change his deposition

testimony, IQVIA respectfully requests that the Court issue a protective order pursuant to which

Mr. Ferguson will produce a new errata sheet to IQVIA identifying the changes he would like to

make to his original sworn testimony; IQVIA will designate, as appropriate, any content that is

confidential pursuant to the parties’ stipulated protective order (see ECF No. 22) and redact any

testimony that protected by the attorney-client privilege or the work product doctrine; and then

IQVIA’s counsel will produce the errata to Plaintiff’s counsel.




2
  In the event the Court does allow a second deposition of Mr. Ferguson to take place, IQVIA
requests that the Court impose a protective order prohibiting Plaintiff’s counsel from asking
about and Mr. Ferguson from disclosing any attorney-client privileged communications between
IQVIA and its in-house or outside counsel.


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Dated: April 12, 2022                 By:    /s/ Tiffany Cheung_________________
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                               CERTIFICATE OF SERVICE

       I, Tiffany Cheung, hereby certify that on April 12, 2022, the foregoing document was filed

electronically with the Clerk of the Court using the ECF system. This document is available for

reviewing and downloading from the ECF system.



Dated: April 12, 2022                  By:    /s/ Tiffany Cheung
                                              TIFFANY CHEUNG




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